 

Case 1:20-cr-00343-GBD Document 89

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA, ;
-against- :

MELIKE MCCRIMMON, :
Defendant. :

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GEORGE B. DANIELS, United States District Judge:

Filed 01/13/21

 

ORDER

20 Crim. 343 (GBD)

For the reasons stated on the record during today’s conference, the Court rules as follows

on the Government’s motions in limine:

(1) The Government’s motion to preclude Defendant from introducing certain portions of

the officers’ body camera footage into evidence, specifically USAO000091 from 2:45—

5:46 and 6:01-15:06, USAO000090 from 2:45-15:05, and USAOQ000092 in its

entirety, and from questioning law enforcement witnesses about such video segments

as well as any statements made or events depicted on the video segments is

GRANTED;

(2) The Government’s motion to preclude cross-examination of law enforcement witnesses

on allegations of prior misconduct, including but not limited to substantiated Civilian

Complaint Review Board complaints, is GRANTED; and
 

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(3) The Government’s motion to preclude Defendant from introducing all communications

by Defendant’s ex-wife is GRANTED.

Dated: New York, New York
January 13, 2021
SO ORDERED.

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GEGRGEP. DANIELS
United States District Judge

 

 
